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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

SYED A. ALI,                              )
                                          )
             Plaintiff,                   )
                                          )
            v.                            )      Case No. 1:15-cv-06178
                                          )
PORTFOLIO RECOVERY ASSOCIATES,            )      Judge Sharon Johnson Coleman
LLC, and BLITT & GAINES, P.C., and        )
FREEDMAN ANSELMO LINDBERG, LLC            )      Magistrate Judge Daniel G. Martin
n/k/a ANSELMO LINDBERG OLIVER,            )
LLC,                                      )
                                          )
             Defendants.                  )
                                          )
YASMEEN ALI, as natural parent and best   )
friend of SHA, a minor,                   )
                                          )
             Plaintiff,                   )
                                          )
      v.                                  )
                                          )      Case no: 15-cv-11582
                                          )
PORTFOLIO RECOVERY ASSOCIATES,            )
LLC and SANJAY S. JUTLA, and KEVIN J.     )
EGAN,                                     )
                                          )
            Defendants,                   )
SYED A. ALI,                              )
                                          )
             Plaintiff,                   )
                                          )
      v.                                  )
                                          )      Case No. 16-cv-03872
                                          )
PORTFOLIO RECOVERY ASSOCIATES,            )
LLC and KEVIN J. EGAN,                    )
                                          )
             Defendants,                  )
                                          )
                                          )




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SYED A. ALI                    )
                               )
          Plaintiff,           )
                               )
     v.                        )
                               )
                               )                          Case No. 1:16-cv-01581
PORTFOLIO RECOVERY ASSOCIATES, )
LLC                            )
                               )
          Defendants,          )
                               )
                               )

      DEFENDANT FREEDMAN ANSELMO LINDBERG, LLC N/K/A ANSELMO
       LINDBERG OLIVER, LLC’S MOTION FOR ENTRY OF BILL OF COSTS

       Defendant, FREEDMAN ANSELMO LINDBERG, LLC n/k/a ANSELMO LINDBERG

OLIVER, LLC (“Defendant”), by and through its attorneys, David M. Schultz, Justin M. Penn,

and Joseph D. Kern of Hinshaw & Culbertson LLP, respectfully requests that the Court enter the

Bill of Costs it filed on October 9, 2018 (Dkt. 255) and/or instruct the Clerk of the Court to do

so. In support, Defendant states as follows:

       1.      On April 24, 2017, Defendant filed a motion for summary judgment as to the sole

claim asserted against it in this matter (Dkt. 177).

       2.      The Court granted Defendant’s motion in its entirety on September 30, 2018,

concluding this matter as to Defendant (Dkt. 252 and 268). The claims against the co-defendants

remained pending.

       3.      As the prevailing party on the claims against it, Defendant timely filed a Bill of

Costs on October 9, 2018 seeking a total of $3,561.87 (Dkt. 255). Defendant attached supporting

documentation to its Bill of Costs reflecting the recoverable costs it incurred in defending this

matter (Dkt. 255). There does not appear to be a separate judgment entered on the claims ruled

upon in the Defendant’s motion for summary judgment.




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        4.        To date, the Bill of Costs has not been entered, perhaps because other claims

between the plaintiffs and co-defendants remained pending and no separate judgment was

entered.

        5.        The plaintiffs and co-defendants recently resolved all remaining claims between

them.

        6.        As such, Defendant understands this case is now fully resolved in its entirety and

that no claims remain in dispute.

        7.        Defendant requests that its Bill of Costs filed at Docket No. 255 be entered.

        WHEREFORE, and for the above reasons, Defendant respectfully requests that the Court

enter the Bill of Costs it filed on October 9, 2018 (Dkt. 255) and/or instruct the Clerk of the

Court to do so.

                                                       Respectfully submitted,

                                                       FREEDMAN ANSELMO LINDBERG, LLC
                                                       N/K/A ANSELMO LINDBERG OLIVER,
                                                       LLC

                                                       /s/ Joseph D. Kern
                                                       Joseph D. kern
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Justin M. Penn
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                               CERTIFICATE OF SERVICE

        I, Joseph D. Kern, an attorney, certify that on January 24, 2019, caused to be served a
copy of the foregoing DEFENDANT FREEDMAN ANSELMO LINDBERG, LLC N/K/A
ANSELMO LINDBERG OLIVER, LLC’S MOTION FOR ENTRY OF BILL OF COSTS
by: depositing same in the U.S. Mail box at 151 North Franklin Street, Chicago, Illinois 60606,
prior to 5:00 p.m., postage prepaid; messenger delivery; UPS; facsimile transmitted from (312)
704-3001; email; or electronically via the Case Management/Electronic Case Filing system
(“ECF”), as indicated below.

       ECF
       Facsimile
       UPS
       U.S. Mail
       E-Mail
       Messenger Delivery


To: All Parties of Record



                                               /s/ Joseph D. Kern
                                               Joseph D. Kern




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